Case 8:15-cv-00192-AEP Document 133-11 Filed 05/24/17 Page 1 of 17 PageID 1937




                  EXHIBIT K
Case
Case8:15-cv-00192-AEP
     8:15-cv-00192-AEP Document
                       Document133-11 Filed03/17/17
                                103-9 Filed 05/24/17 Page
                                                     Page22of
                                                            of17
                                                               17PageID
                                                                 PageID1193
                                                                        1938




  CONFIDENTIAL                                            AGL / Bechtel 000365
Case
Case8:15-cv-00192-AEP
     8:15-cv-00192-AEP Document
                       Document133-11 Filed03/17/17
                                103-9 Filed 05/24/17 Page
                                                     Page33of
                                                            of17
                                                               17PageID
                                                                 PageID1194
                                                                        1939




  CONFIDENTIAL                                            AGL / Bechtel 000366
Case
Case8:15-cv-00192-AEP
     8:15-cv-00192-AEP Document
                       Document133-11 Filed03/17/17
                                103-9 Filed 05/24/17 Page
                                                     Page44of
                                                            of17
                                                               17PageID
                                                                 PageID1195
                                                                        1940




  CONFIDENTIAL                                            AGL / Bechtel 000367
Case
Case8:15-cv-00192-AEP
     8:15-cv-00192-AEP Document
                       Document133-11 Filed03/17/17
                                103-9 Filed 05/24/17 Page
                                                     Page55of
                                                            of17
                                                               17PageID
                                                                 PageID1196
                                                                        1941




  CONFIDENTIAL                                            AGL / Bechtel 000368
Case
Case8:15-cv-00192-AEP
     8:15-cv-00192-AEP Document
                       Document133-11 Filed03/17/17
                                103-9 Filed 05/24/17 Page
                                                     Page66of
                                                            of17
                                                               17PageID
                                                                 PageID1197
                                                                        1942




  CONFIDENTIAL                                            AGL / Bechtel 000369
Case
Case8:15-cv-00192-AEP
     8:15-cv-00192-AEP Document
                       Document133-11 Filed03/17/17
                                103-9 Filed 05/24/17 Page
                                                     Page77of
                                                            of17
                                                               17PageID
                                                                 PageID1198
                                                                        1943




  CONFIDENTIAL                                            AGL / Bechtel 000370
Case
Case8:15-cv-00192-AEP
     8:15-cv-00192-AEP Document
                       Document133-11 Filed03/17/17
                                103-9 Filed 05/24/17 Page
                                                     Page88of
                                                            of17
                                                               17PageID
                                                                 PageID1199
                                                                        1944




  CONFIDENTIAL                                            AGL / Bechtel 000371
Case
Case8:15-cv-00192-AEP
     8:15-cv-00192-AEP Document
                       Document133-11 Filed03/17/17
                                103-9 Filed 05/24/17 Page
                                                     Page99of
                                                            of17
                                                               17PageID
                                                                 PageID1200
                                                                        1945




  CONFIDENTIAL                                            AGL / Bechtel 000372
Case
Case8:15-cv-00192-AEP
     8:15-cv-00192-AEP Document
                       Document133-11 Filed03/17/17
                                103-9 Filed 05/24/17 Page
                                                     Page10
                                                          10of
                                                            of17
                                                               17PageID
                                                                 PageID1201
                                                                        1946




  CONFIDENTIAL                                            AGL / Bechtel 000373
Case
Case8:15-cv-00192-AEP
     8:15-cv-00192-AEP Document
                       Document133-11 Filed03/17/17
                                103-9 Filed 05/24/17 Page
                                                     Page11
                                                          11of
                                                            of17
                                                               17PageID
                                                                 PageID1202
                                                                        1947




  CONFIDENTIAL                                            AGL / Bechtel 000374
Case
Case8:15-cv-00192-AEP
     8:15-cv-00192-AEP Document
                       Document133-11 Filed03/17/17
                                103-9 Filed 05/24/17 Page
                                                     Page12
                                                          12of
                                                            of17
                                                               17PageID
                                                                 PageID1203
                                                                        1948




  CONFIDENTIAL                                            AGL / Bechtel 000375
Case
Case8:15-cv-00192-AEP
     8:15-cv-00192-AEP Document
                       Document133-11 Filed03/17/17
                                103-9 Filed 05/24/17 Page
                                                     Page13
                                                          13of
                                                            of17
                                                               17PageID
                                                                 PageID1204
                                                                        1949




  CONFIDENTIAL                                            AGL / Bechtel 000376
Case
Case8:15-cv-00192-AEP
     8:15-cv-00192-AEP Document
                       Document133-11 Filed03/17/17
                                103-9 Filed 05/24/17 Page
                                                     Page14
                                                          14of
                                                            of17
                                                               17PageID
                                                                 PageID1205
                                                                        1950




  CONFIDENTIAL                                            AGL / Bechtel 000377
Case
Case8:15-cv-00192-AEP
     8:15-cv-00192-AEP Document
                       Document133-11 Filed03/17/17
                                103-9 Filed 05/24/17 Page
                                                     Page15
                                                          15of
                                                            of17
                                                               17PageID
                                                                 PageID1206
                                                                        1951




  CONFIDENTIAL                                            AGL / Bechtel 000378
Case
Case8:15-cv-00192-AEP
     8:15-cv-00192-AEP Document
                       Document133-11 Filed03/17/17
                                103-9 Filed 05/24/17 Page
                                                     Page16
                                                          16of
                                                            of17
                                                               17PageID
                                                                 PageID1207
                                                                        1952




  CONFIDENTIAL                                            AGL / Bechtel 000379
Case
Case8:15-cv-00192-AEP
     8:15-cv-00192-AEP Document
                       Document133-11 Filed03/17/17
                                103-9 Filed 05/24/17 Page
                                                     Page17
                                                          17of
                                                            of17
                                                               17PageID
                                                                 PageID1208
                                                                        1953




  CONFIDENTIAL                                            AGL / Bechtel 000380
